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                                                  U.S. Department of Justice
                                                                                              Page 3
                                                      United States Attorney
My und                                                Southern District of New York
                                                      26 Federal Plaza, 37th Floor
                                                      New York, New York 10278


                                                      April 11, 2025
BY ECF

The Honorable Arun Subramanian
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     United States v. Combs, S3 24 Cr. 542 (AS)

Dear Judge Subramanian:

        The Government respectfully submits this letter in connection with the parties’ proposed
jury questionnaires for trial in the above-referenced case. Attached to this letter is the
Government’s proposed jury questionnaire. In advance of submitting this proposal, the
Government and defense conferred and exchanged proposed questionnaires. Despite those
conferrals, the parties were unable to reach agreement on the length and substance of a
questionnaire for this case. The Government understands that the defense does not object to any
of the Government’s proposed questions, but rather believes that many additional questions should
also be included. For the reasons set forth below, the Government respectfully urges the Court to
adopt a shorter, more targeted questionnaire. The Government’s proposal is crafted to ensure the
jurors’ efficient and accurate completion that will assist with the parties’ exercise of for cause
challenges and, along with in-person voir dire, will facilitate a thorough, complete, and accurate
jury selection process.

        The Government’s request for a short questionnaire arises primarily from recent experience
in this District where a lengthy juror questionnaire in another case involving sexual abuse resulted
in at least one trial juror providing inaccurate and incomplete answers that were only discovered
after the verdict. See United States v. Maxwell, No. 20 Cr. 330 (AJN), 2022 WL 986298 (S.D.N.Y.
Apr. 1, 2022). In Maxwell, jurors completed a lengthy questionnaire consisting of 51 questions,
many of which had subparts, which were “designed to pre-screen for the major for-cause strike
issues in the case.” Id. at *2-3 (internal quotation marks omitted). “In-person voir dire” later
addressed “appropriate follow-up questions based on questionnaire responses, additional questions
more appropriately asked orally, and background information to aid the parties’ exercise of
informed peremptory challenges.” Id. at *2. Following the verdict, a trial juror revealed during
press interviews that he had been a victim of sexual abuse, which he had not disclosed when asked
about that same topic in the questionnaire. Id. at *4-5. Ultimately, the district court held a hearing
at which the juror testified that his answers to three questions on the questionnaire “were not
accurate” and explained that he was “distracted as he filled out the questionnaire and ‘completely
skimmed way too fast,’ leading him to misunderstand the questions.” Id. at *5. This experience
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suggests that lengthy questionnaires are not an effective or efficient means of conducting jury
selection.

        Based on the recent failure of a lengthy questionnaire calling for numerous narrative
answers, the Government strongly believes that any questionnaire should be as concise as possible
to ensure that jurors provide complete and accurate answers. The questionnaire adopted should
further be targeted to address issues that relate to for-cause challenges rather than personal
information that would only be relevant to peremptory challenges. In furtherance of these goals,
any questionnaire should be limited to topics addressing potential for-cause challenges, should
eschew questions about sensitive and personal topics, and should involve the simplest possible
questions.

        The defense’s proposed questionnaire meets none of these goals. For starters, it has 72
questions, many of which have subparts, making it even longer than the questionnaire in Maxwell.
Substantively, the defense’s proposed questionnaire addresses many topics that have no bearing
on potential for-cause challenges and some that should not be asked of any potential juror at all;
asks many questions about sensitive and deeply personal topics; and calls for narrative answers
within subparts to multiple questions. Below the Government identifies the specific questions in
the defense’s proposal to which it objects.

       First, many questions in the defense’s proposal have no bearing on potential for-cause
challenges. They instead request biographical information that should be collected during in
person voir dire, or they ask questions that are utterly irrelevant to the ability to serve on a jury.
The following questions fall into this category:
            Questions 8 through 23
            Questions 37 through 38
            Questions 41 through 45
            Question 53
            Question 69

        Second, several questions in the defense’s proposal probe personal topics that are much
better left to in-person voir dire. Especially where the Court is already planning to conduct
individualized in-person voir dire, prospective jurors are much more likely to focus their full
attention on the Court’s in-person questions and to feel comfortable disclosing personal
experiences in that context. This is especially so if a question calls upon jurors to disclose a past
experience of sexual abuse or assault that they have never reported. The following questions fall
into this category:
             Question 28
             Questions 30 through 36
             Question 39
             Question 40
             Questions 57 through 60
             Question 68
             Questions 70 through 72
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        Third, some questions themselves provide information to jurors that the jurors otherwise
would not necessarily know, such as information about the defendant or about media coverage of
this case, or are otherwise not written in a neutral manner. The following questions fall into this
category:
             Question 37
             Question 46
             Question 64
             Question 68
             Question 69

       Finally, several questions include unnecessary subparts, unnecessarily call for a narrative
response, and/or are confusingly phrased. The following questions fall into this category:
            Question 3
            Question 7
            Question 13
            Question 15
            Question 16
            Questions 18 through 22
            Questions 26 through 38
            Question 43
            Questions 45 through 50
            Question 55
            Question 56
            Questions 61 through 65
            Question 68

       To the extent the Court is inclined to nevertheless include any of the questions identified
above, the Government respectfully asks to be heard on this topic at the conference scheduled for
April 18, 2025 before the Court’s questionnaire is finalized.

                                               Respectfully submitted,

                                               MATTHEW PODOLSKY
                                               Acting United States Attorney

                                         By:      /s
                                               Maurene Comey / Meredith Foster /
                                               Emily A. Johnson / Christy Slavik /
                                               Madison Reddick Smyser / Mitzi Steiner
                                               Assistant United States Attorneys
                                               (212) 637-2324/-2310/-2409/-1113/-2381/-2284

cc:    Counsel of record (by ECF)
